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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                                SOUTHERN DIVISION

THE EQUAL RIGHTS CENTER, et al.,
                                                *
                      Plaintiff,
                                                *
                      vs.                                    Civil Action No. AW-09-3275
                                                *
CVS CAREMARK CORPORATION,
                                                *
                      Defendant.
                                            ******
                                            ORDER
       This Court has been advised by the parties that this matter has settled. Accordingly,

pursuant to Local Rule 111, IT IS this 5th Day of January, 2011, by the United States District

Court for the District of Maryland, hereby ORDERED that:

       This action is hereby dismissed and each party is to bear its own costs unless otherwise

agreed, in which event the costs shall be adjusted between the parties in accordance with their

agreement. The entry of this Order is without prejudice to the right of either party to move for

good cause within 30 days to reopen this action if settlement is not consummated. If no party

moves to reopen, the dismissal shall be with prejudice.

       IT IS FURTHER ORDERED:

       1. That the Clerk of the Court CLOSE this case; AND

       2. That the Clerk of the Court transmit a copy of this Order to all counsel of record.



                                                     __________/s/____________
                                                     Alexander Williams, Jr.
                                                     United States District Judge
